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            Appendix A
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Third Amended Infringement Contentions: U.S. Patent No. 6,690,387


                                                           and tablets) include a “touchscreen embedded in the device.” See, e.g.,
                                                           PHILIPS00043272-345 at 276.

                                                           As explained further below, each of the ’387 Android Accused Products
                                                           allows for controlling the scroll-like display of data on the touchscreen.

[9b] sensing the duration of finger touch contact time     ’387 Android Accused Products:
with an electronic display screen having scrollable data
                                                           Each ’387 Android Accused Product includes a touchscreen and a
displayed thereon;                                         microprocessor. See, e.g., Appendix AC; see also A. Lai Dep. Tr. at
                                                           17:9-20:18; 41:12-42:7. Each ’387 Android Accused Product senses
                                                           the length of time that a finger is substantially stationary while in
                                                           contact with the touchscreen when the touchscreen is displaying data
                                                           that can be scrolled along the screen. See, e.g., ASUS Source Code
                                                           Appendix B at 9b.


                                                           Launcher
                                                           As one example, the ’387 Android Accused Products include a
                                                           Launcher application that senses the length of time that a finger is
                                                           substantially stationary while in contact with the touchscreen
                                                           (displaying scrollable data such as a page of application icons) and can
                                                           distinguish between a contact of short duration (e.g., which may cause a
                                                           scroll to stop) and a contact of longer duration (e.g., which may cause
                                                           an icon to become movable). See, e.g., ’387 Android Videos.


                                                           Browser
                                                           As another example, the ’387 Android Accused Products include a
                                                           browser application (e.g., the “Internet,” “Browser,” and/or “Chrome”
                                                           applications) that senses the length of time that a finger is substantially
                                                           stationary while in contact with the touchscreen (displaying scrollable
                                                           data such as a webpage) and can distinguish between a contact of short

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                                                         duration (e.g., which may cause a scroll to stop) and a contact of longer
                                                         duration (e.g., which may cause a menu to pop up). See, e.g., ’387
                                                         Android Videos.


                                                         Email and Dialer
                                                         As another example, certain ’387 Android Accused Products include an
                                                         email and/or dialer application that senses the length of time that a
                                                         finger is substantially stationary while in contact with the touchscreen
                                                         (displaying scrollable data) and can distinguish between a contact of
                                                         short duration (e.g., which may cause a scroll to stop) and a contact of
                                                         longer duration (e.g., which may cause an icon to become movable).
                                                         See, e.g., ’387 Android Videos.


                                                         Presence of this claim element in the ’387 Android Accused Products is
                                                         further illustrated by the ’387 Android User Manuals.

[9c] sensing the speed and direction of motion of said   ’387 Android Accused Products:
finger touch contact with said display screen;           Each ’387 Android Accused Product senses the speed and direction of
                                                         motion of a finger that is non-stationary while in contact with the
                                                         touchscreen. See, e.g., ASUS Source Code Appendix B at 9c.


                                                         As explained further below, the sensed speed and direction of motion is
                                                         used in initiating scrolling motion of the scrollable data. See infra at 9d.


                                                         Launcher
                                                         As one example, the ’387 Android Accused Products include a
                                                         Launcher application that senses the speed (e.g., how quickly a user
                                                         moves his finger) and direction (e.g., whether the user is moving his


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                                                              finger left or right) of a non-stationary finger while in contact with the
                                                              touchscreen. See, e.g., ’387 Android Videos.


                                                              Browser
                                                              As another example, the ’387 Android Accused Products include a
                                                              browser application (e.g., the “Internet,” “Browser,” and/or “Chrome”
                                                              applications) that senses the speed (e.g., how quickly a user moves his
                                                              finger) and direction (e.g., whether the user is moving his finger up or
                                                              down) of a non-stationary finger while in contact with the touchscreen.
                                                              See, e.g., ’387 Android Videos.


                                                              Email and Dialer
                                                              As another example, certain ’387 Android Accused Products include an
                                                              email and/or dialer application that senses the speed (e.g., how quickly a
                                                              user moves his finger) and direction (e.g., whether the user is moving
                                                              his finger up or down) of a non-stationary finger while in contact with
                                                              the touchscreen. See, e.g., ’387 Android Videos.


                                                              Presence of this claim element in the ’387 Android Accused Products is
                                                              further illustrated by the ’387 Android User Manuals.

[9d] initiating scrolling motion of said scrollable data on   ’387 Android Accused Products:
said display screen in said sensed direction and at said      Each ’387 Android Accused Product initiates scrolling motion of the
sensed speed;                                                 data that can be scrolled along the screen in the sensed direction and at
                                                              the sensed speed. See, e.g., ASUS Source Code Appendix B at 9d.


                                                              Launcher
                                                              As one example, the ’387 Android Accused Products include a


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                                                    Launcher application where, when a user’s finger touches the screen,
                                                    moves across the screen, and then separates from the screen, the
                                                    direction and speed of the finger movement is sensed. The Launcher
                                                    initiates a “fling,” which is a motion that scrolls the page of application
                                                    icons on the screen in the sensed direction and at the sensed speed. See,
                                                    e.g., ’387 Android Videos.


                                                    Browser
                                                    As another example, the ’387 Android Accused Products include a
                                                    browser application (e.g., the “Internet,” “Browser,” and/or “Chrome”
                                                    applications) where, when a user’s finger touches the screen, moves
                                                    across the screen, and then separates from the screen, the direction and
                                                    speed of the finger movement is sensed. The Browser initiates a
                                                    “fling,” which is a motion that scrolls the webpage on the screen in the
                                                    sensed direction and at the sensed speed. See, e.g., ’387 Android
                                                    Videos.


                                                    Email and Dialer
                                                    As another example, certain ’387 Android Accused Products include an
                                                    email and/or dialer application where, when a user’s finger touches the
                                                    screen, moves across the screen, and then separates from the screen, the
                                                    direction and speed of the finger movement is sensed. The email
                                                    application initiates a “fling,” which is a motion that scrolls the emails
                                                    on the screen in the sensed direction and at the sensed speed. See, e.g.,
                                                    ’387 Android Videos.


                                                    Presence of this claim element in the ’387 Android Accused Products is
                                                    further illustrated by the ’387 Android User Manuals.




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                 Exhibit 9
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Third Amended Infringement Contentions: U.S. Patent No. RE43,564


                                                      U.S. Patent No. RE43,564

        Claim 1                                                            Contention

[1a]. A handheld           ’564 Android Accused Products:
communication device       The ’564 Android Accused Products are ASUS products19 that run the Android Operating System and were
comprising:                preloaded with, or otherwise upgraded to, Android 2.1 or higher and/or was pre-loaded with the Chrome
                           browser. See, e.g., Appendix AC. Specifically, the ’564 Android Accused Products include the following
                           functionalities which allow for the magnification of a selected portion of an image to facilitate selection of
                           a feature: magnification accessibility gesture (Android 4.2 or higher), pinch-to-zoom (pre-loaded with an
                           Internet browser), double-tap zoom (pre-loaded with an Internet browser), and link disambiguation (pre-
                           loaded with the Chrome browser).
                           Presence of each claim element in the ’913 Android Accused Products is illustrated below and by the
                           analysis of relevant source code for the magnification accessibility gesture in the attached ASUS Source
                           Code Appendix K to these Contentions (“ASUS Source Code Appendix K”). With respect to pinch-to-
                           zoom, double-tap zoom, and link disambiguation, Philips served a subpoena on Google on July 25, 2017
                           for the relevant Chrome browser source code, but Google has not yet produced it.


                           The ’564 Android Accused Products include:
                           ’564 Android Jelly Bean Accused Products: ASUS products which were preloaded with, or otherwise
                           upgraded to, Android 4.1 through Android 4.3.
                           Contentions for these products are described with respect to the ASUS MeMo Pad HD7 (ME173X), which
                           is representative of the other ASUS products which were preloaded with, or otherwise upgraded to,
                           Android 4.1 through Android 4.3. See, e.g., Appendix AC. Unless specified, an analysis of the ’564

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   Made, used, sold and/or offered for sale, within the United States, and/or imported into the United States, without authority, by
ASUS on or after the earliest date for which Philips is entitled to recover damages, including any appropriate damages prior to the
reissue of the ’564 patent. Further, Philips is entitled to damages on ASUS Android devices sold prior to the reissue of the ’564
patent, but were upgraded or updated to a newer version of Android and/or Sense after the reissue date of the ’564 patent.

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Third Amended Infringement Contentions: U.S. Patent No. 5,910,797


                                                   U.S. Patent No. 5,910,797

                         Claim 1                                                       Contention

[1a] A manipulatable apparatus having data processing ’797 Android Accused Products:
means and screen means for displaying one or more The ’797 Android Accused Products are ASUS smartphones and tablet
graphical or other objects presented by said data computers13 that run the Android Operating System, include an
processing means,
                                                      acceleration sensor, and were preloaded with, or otherwise upgraded to,
                                                      Android 3.1 or higher. See, e.g., Appendix AC.
                                                          Presence of each claim element in the ’797 Android Accused Products
                                                          is illustrated below and by the analysis of relevant source code in the
                                                          attached ASUS Source Code Appendix E to these Contentions (“ASUS
                                                          Source Code Appendix E”).


                                                          The ’797 Android Accused Products include:
                                                          ’797 Android Honeycomb Accused Products: ASUS products which
                                                          were preloaded with, or otherwise upgraded to, Android 3.0 through
                                                          Android 3.2, and include an acceleration sensor.
                                                          Contentions for these products are described with respect to the ASUS
                                                          Eee Pad Slider (SL101), which is representative of the other ASUS
                                                          products which were preloaded with, or otherwise upgraded to, Android
                                                          3.0 through Android 3.2, and include an acceleration sensor. See, e.g.,
                                                          Appendix AC. Unless specified, an analysis of the ’797 Android
                                                          Honeycomb Accused Products has not revealed any material differences
                                                          between the ASUS Eee Pad Slider (SL101) and the other Android
                                                          Honeycomb Accused Products. See also S. Huang Dep. Tr. at 41:4-17;

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  Made, used, sold and/or offered for sale, within the United States, and/or imported into the United States, without authority, by
ASUS on or after the earliest date for which Philips is entitled to recover damages.

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               Exhibit 17
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Third Amended Infringement Contentions: U.S. Patent No. 8,543,819


                                                   U.S. Patent No. 8,543,819

                         Claim 1                                                       Contention

[1a] A method of determining whether protected content ’819 HDCP Accused Products:
stored on a first communication device are accessed by a The ’819 HDCP Accused Products are all ASUS products16 that support
second communication device, the method comprising the High-bandwidth Digital Content Protection (“HDCP”) System
the step of:
                                                         revision 2.x. See, e.g., Appendix AC.


                                                          The ’819 HDCP Accused Products identified to date based on the
                                                          discovery ASUS has provided include at least: the Asus PadFone X,
                                                          Asus MeMO Pad 7 LTE (Model ME375CL), Asus Memo Pad 7
                                                          ME572C, Asus Memo Pad 8 ME181C, Asus Zenfone 2 Deluxe
                                                          ZE551ML, Asus Zenfone 2 Deluxe Special Edition, Asus ZenPad 10
                                                          Z300CL, Asus ZenPad 10 Z300M, Asus ZenPad 8.0 Z380M, Asus
                                                          ZenPad S 8.0 Z580C, Asus ZenPad S 8.0 Z580CA, Asus Transformer
                                                          Pad TF701T, Asus Zenfone Zoom ZX551ML, Asus Google Nexus 7
                                                          (2013), Asus Google Nexus 7 2 Cellular with 3G/4G support, and Asus
                                                          Google Nexus 7 2 with no cellular network support.              See
                                                          ASUSPH_00047722. Unless specified, an analysis of the ’819 HDCP
                                                          Accused Products has not revealed any material differences in the
                                                          implementation of HDCP 2.x on each such product. See also S. Huang
                                                          Dep. Tr. at 37:20-38:4; 39:10-22.


                                                          Digital Content Protection LLC (“DCP”) is an organization that licenses
                                                          HDCP. The DCP website explains that “High-bandwidth Digital


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  Made, used, sold and/or offered for sale, within the United States, and/or imported into the United States, without authority, by
ASUS on or after the earliest date for which Philips is entitled to recover damages.

                                                                1


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Third Amended Infringement Contentions: U.S. Patent No. 8,543,819


                                                    Content Protection revision 2.0 is used to encrypt premium content at
                                                    the final stage of the content distribution process. It encrypts content as
                                                    it flows throughout the home from source devices such as DVD players
                                                    and notebook computers to display devices such as High-definition TVs
                                                    (HDTVs).” See PHILIPS00000055 (Digital Content Protection FAQs),
                                                    a portion of which is included as Exhibit A of this Appendix (“Ex. A”).


                                                    The current version of HDCP revision 2.x is HDCP revision 2.2. The
                                                    document “HDCP revision 2.2 Specification for Miracast” is the HDCP
                                                    2.2 Specification Interface Independent Adaptation for Miracast. See,
                                                    e.g., PHILIPS00000066 (HDCP System Interface Independent
                                                    Adaptation Revision 2.2). The HDCP 2.2 Specification Interface
                                                    Independent Adaptation for Miracast is substantially similar to the
                                                    HDCP 2.1 Specification Interface Independent Adaptation for Miracast
                                                    (PHILIPS00032374) and the HDCP 2.0 Specification Interface
                                                    Independent Adaptation for Miracast (PHILIPS00032316).           The
                                                    document “HDCP revision 2.2 Specification for HDMI” is the HDCP
                                                    2.2 Specification for the HDMI interface. See, e.g., PHILIPS00000144
                                                    (HDCP System Mapping HDCP to HDMI Revision 2.2). The
                                                    document “HDCP revision 2.2 Specification for MHL” is the HDCP 2.2
                                                    Specification for MHL. See, e.g., PHILIPS00000216 (HDCP System
                                                    Mapping HDCP to MHL Revision 2.2). The document “HDCP revision
                                                    2.2 Specification for DisplayPort” is the HDCP 2.2 Specification for
                                                    DisplayPort. See, e.g., PHILIPS00007415 (HDCP System Mapping
                                                    HDCP to DisplayPort Revision 2.2).


                                                    Based on the above, each ’819 HDCP Accused Product determines
                                                    whether protected content stored on a first communication device are
                                                    accessed by a second communication device. Each ’819 HDCP
                                                    Accused Product supports HDCP revision 2.x and therefore determines
                                                    whether protected content that is stored on the device itself are accessed

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